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         IN THE CIRCUIT COURT OF SHARP COUNTY, ARKANSAS
                           CIVIL DIVISION
                                                                 Fl·lED
ANTHONY CRABTREE,                 . )                            ocr o9 2o13
                                   )                         TOMM~s. CLERK
            Plaintiff              )                        BY    ~        _o.
                                   )
vs.                                )          NO. CIV-2013-_t~~~~---•
                                   )
XTO ENERGY, INC. AND               )
JOHN DOES I THRU X,                )
                                   )
            Defendants             )



                                COMPLAINT

            Comes Anthony Crabtree (Crabtree), Plaintiff herein, and, for

his claims against XTO Energy, Inc. (XTO) and John Does I Thru X,

Defendants herein, states:

            1. Crabtree was, at the time of the occurrence described

herein, a resident of Sharp County, Arkansas. The claims asserted herein

arise out of personal injuries sustained by Crabtree in an occurrence in

Independence County, Arkansas. Venue of this Court in this action is

conferred by Ark. Code Ann.§ 16-55-213(a).

            2. XTO is a foreign corporation qualified to and doing business

in the State of Arkansas and is subject to the personal jurisdiction of this

Court.
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                  3. John Does I thru X are persons or entities, hereinafter

     described, whose-identifies are-unknown to Crabtree and his attorney.

                  4.· On the 17th day of November, 201 0, Crabtree was engaged

     in his first day of employment by Santa Clara, Inc., as a driver of a

     truck/tank trailer. At that time, Santa Clara, Inc. was engaged in the

     business of hauling waste liquids from natural gas well sites to a disposal

     facility.

                  5. At approximately 1:00 A.M. on November 17, 2010,

     Crabtree was on the site of a gas well in or near Pleasant Plains,

     Arkansas. This well was operated by XTO and is identified by the well

     name of Burress 1-22H. XTO was the operator of the well and had

     possession and control of the premises of the well site. Crabtree was on

     the well site for the purpose of loading liquids, which Crabtree believed to

     be wastewater, into the tank of his truck for the purpose of transportation to

     a disposal facility.

                  6. Crabtree was instructed to check the level of the liquid in the

     tank on the well site, the top of which tank was approximately 20 feet

     above grade. Crabtree was instructed by co-employees that the gauge on

     the tank, showing the liquid level, was unreliable and therefore he was

     instructed to climb to the top of the tank and open the lid so he could


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determine the level of its contents. Crabtree believed, and had not been

instructed otherwise, that the bank contained only waste water. There

were no signs or warnings on or about the tank indicating the presence, or

potential presence, of flammable or explosive vapors within the tank.

            7. Upon reaching the top of the bank, Crabtree opened the lid

and looked inside but, due to the darkness, could not see the level of the

tank contents. Believing it safe to do so, Crabtree light a cigarette lighter in

order to provide additional light in the interior of the tank. As he did so, the

gases accumulated in the top of the tank exploded. As a result of the

explosion, Crabtree was thrown from the top of the bank to the ground. As

a consequence of the explosion, and being thrown to the ground, Crabtree

sustained serious, painful, and permanent personal injuries as are

hereinafter described.

            8. Crabtree was, at the time of the occurrence described

herein, a business invitee upon the well-site premises, which premises was
                                                                     "
occupied by and under the control of XTO. As occupier and possessor of

the premises, XTO owed Crabtree a duty to maintain the well-site premises

in a reasonably safe condition and to warn Crabtree of any hazards, or

potential hazards, present on the premises.




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                          9. As a direct result of the occurrence described herein,

           · ·Plaintiff sustained· serious, ·painful and ·permanent personal·injurie·s

             including, but not limited to, a fracture of his left femur, a Lisfranc fracture

            of his left foot, and burns to his face, upper arms, upper chest, and neck.

            Crabtree was transported from the well site to White River Medical Center

            where he was first seen, from which he was transported to UAMS Hospital

            where his fractured left femur was treated by placement of an

            intramedullary nail within the femur. Following surgical treatment of his

            orthopedic injuries, Crabtree was transported to Arkansas Children's

            Hospital Burn Unit for treatment of his burn injuries.

                         10. As a direct result of the injuries hereinabove described,

            Crabtree has sustained in the past, and will sustain in the future, the

            following elements of damage:

                               (a) Past and future pain, suffering and mental

                         anguish;

                               (b) Past and future expenses of hospital,

                         surgical, and other medical care;

                               (c) Loss of earnings in the past;

                               (d) Permanent impairment of future earning

                         capacity;


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                        (e) Scars, disfiguration, and visible results of

                  his injury.

                  11. Because of the injuries sustained in the occurrence

     described herein, and the consequences thereof, Crabtree has sustained

     damages in excess of the minimum amount required for diversity of

     citizenship suits in United States District Courts.

                                        COUNT I

                  12. Crabtree incorporates herein as a part of Count I, by

     reference thereto, the foregoing allegations of paragraphs 1 through 12.

                  13. The occurrence described herein and all damages

     sustained by Plaintiff were proximately caused by XTO's breach of its duty

     to maintain the premises of the well site in a reasonably safe condition and

     to warn business invitees of any hazards or potential hazards present on

     the premises. This breach of duty by XTO constitutes negligence, which

     negligence consists of, but is not limited to, the following acts and

     omissions:

                        (a) Failure to control and remove from storage

                  tanks accumulated explosive and flammable gases

                  therein;




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                         (b) Failure to inform Plaintiff of the presence

                 or potential presence of flammable and explosive·

                 gases in the storage tank;

                         (c) Failure to place on the storage tank, or in

                 close proximity thereto, adequate and conspicuous

                 warnings of the presence or potential presence of

                 explosive and flammable gases within the storage

                 tank.

                                         COUNT II

                 14. Crabtree incorporates herein as a part of Count II, by

     reference thereto, the foregoing allegations of paragraphs 1 through 13.

                 15. The storage tank described herein was manufactured, sold

     or otherwise supplied in a defective condition which rendered it

     unreasonably dangerous to those reasonably foreseeable to be affected by

     its use. Such defective condition consists of, but is not limited to, the

     absence of appropriate devices to remove explosive or potentially

     explosive gases from the tank and the absence of adequate and

     conspicuous warnings of the presence or potential presence of hazardous

     or explosive gases within the tank.




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                  16. The identity of those persons or entities involved in the

     manufacture,- sale or-otherwise-supplying -of the storage-tank herein

     described is unknown to Plaintiff. These entities therefore are hereby

     described as John Does I thru V.

                  17. The identity of other persons or entities who may have

     been in the possession or control of the premises of the well site, or who

     were responsible for the maintenance of the premises in a reasonably safe

     condition and for giving business invitees adequate warnings of hazards or

     potential hazards present on the premises, or who may have assumed the

     duty of maintaining the premises, other than XTO, is unknown to Plaintiff.

     These persons and entities are therefore described as John Does V thru X.

                 18. Upon learning the true identity of the parties described as

     John Does I thru X, they will be named by amendments hereto substituting

     the entry of identities for the John Doe designations.

                  19. In compliance with Ark. Code Ann.§ 16-56-125, Crabtree

     is filing herewith an affidavit of his attorney of record attesting to the fact

     that the identity of the John Does I thru X is presently unknown to

     Crabtree.

                 WHEREFORE, Anthony Crabtree, Plaintiff herein, demands

     judgment from and against XTO Energy, Inc. and John Does I Thru X,


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    Defendants herein, for his damages as may be determined by the jury,

    -which damages exceed the minimum amount required for diversity of
                             •
    citizenship suits in United States District Courts; and that Plaintiff further

    recover his costs herein.

                                               ANTHONY CRABTREE

                                               Plaintiff

                                               By:~~
                                                H. DAVID BLAIR ti6S004
                                                    Attorney at Law
                                                    P. 0. Box 2135
                                                    Batesville, Arkansas 72503
                                                    870-793-8350 Phone
                                                    870-793-3989 Facsimile
                                                    hdb@blastlaw.com




                                 DEMAND FOR JURY TRIAL

                 Comes Anthony Crabtree, Plaintiff herein, and, pursuant to

    Rule 38 of the Arkansas Rules of Civil Procedure, demands right of trial by

    jury as to all issues so triable.


                                               ANTHONY CRABTREE

                                               Plaintiff

                                               BY:~~
                                                    H. DAVID BLAIR       #65004


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